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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


NIC SALOMON,

           Plaintiff,

           vs.

KROENKE SPORTS & ENTERTAINMENT,
LLC, OUTDOOR CHANNEL HOLDINGS,
INC. AND PACIFIC NORTHERN CAPITAL      Civil Action No. 3:15-CV-00666-M
LLC,

           Defendants.




  PLAINTIFF NIC SALOMON’S REPLY IN SUPPORT OF MOTION TO EXCLUDE
EXPERT OPINIONS AND TESTIMONY OF DAVID BUCK PURSUANT TO FEDERAL
           RULE OF EVIDENCE 702 AND REQUEST FOR HEARING


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I.      INTRODUCTION
        Defendants appear to concede that expert witnesses should not be permitted to provide

legal conclusions. This should end the analysis. Attorney David Buck proposes to interpret the

Term Sheet for the Court and instruct the jury to find there was no breach. These are textbook

legal opinions and conclusions which courts within this Circuit routinely exclude as improper.

        Defendants respond to Plaintiff’s motion by claiming that Mr. Buck is not being offered

for his legal expertise or to interpret the Term Sheet, but that instead, he merely seeks to provide

opinions as an “industry” expert. This contention is simply at odds with Mr. Buck’s own words

in his expert report. The word “industry” does not appear anywhere in the report, nor does Mr.

Buck at any point suggest he is offering an interpretation of the Term Sheet based on the

specialized or technical usage of a term in the Term Sheet specific to the industry of the parties.

The only industry Mr. Buck specializes in is the legal industry as a corporate transactional

lawyer. He does not claim expertise or knowledge in the aerial camera industry or in media and

entertainment. As Mr. Buck’s own CV shows, at most, he has experience doing legal work for

the oil and gas industry, as well as for companies in maritime transportation, restaurants,

aviation, and death care.

        But more importantly, Defendants fail to adequately explain why any of the terms Mr.

Buck seeks to interpret for the Court—like “sale,” “agreement to sell,” or “directly or

indirectly”—require the Court to look to “industry” or trade usage to begin with. Simply stated,

none of these words or phrases are industry terms of art or have specialized technical meanings.

        In sum, Defendants’ legal arguments in their opposition brief and the plain language of

Mr. Buck’s expert report tell two different stories. Defendants’ attempts to characterize Mr.

Buck’s opinions through artful paraphrasing in an attempt to salvage their admissibility should be

rejected.   Mr. Buck’s opinions should be excluded as nothing more than improper legal

conclusions and opinions.




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II.     ARGUMENT
        A.      Defendants Ignore the Authority Relied Upon By Plaintiff and Ignore the
                Language of Mr. Buck’s Report Which Clearly Seeks to Interpret the Term
                Sheet and Advise the Jury to Find There Was No Breach.
        Defendants appear to concede that expert witnesses may not offer legal conclusions or

opinions. To the extent they disagree, they do nothing to show that disagreement as they make

no attempt to distinguish any of the main case authority discussed in Plaintiff’s moving papers or

to argue that this authority does not apply to this case. See, e.g., Askanse v. Fatjo, 130 F.3d 657,

673 (5th Cir. 1997); Estate of Sowell v. United States, 198 F.3d 169, 172 (5th Cir. 1999); Amica
Mutual Ins. Comp. v. Moak, 55 F.3d 1093, 1096 n.5 (5th Cir. 1995); Nagle v. Sheriff Marlin

Gusman, No. CV 12-1910, 2016 WL 541436, at *5 (E.D. La. Feb. 11, 2016).

        Defendants’ opposition sidesteps the core problem with David Buck’s proposed expert

opinions—namely, that he offers legal conclusions and legal opinions on how the Court should

interpret the Term Sheet and how the jury should determine whether there was a breach.

Defendants fail to confront any of the language actually contained within the four corners of Mr.

Buck’s expert report and instead offer self-serving characterizations of what they wish the report

says in order to avoid excluding Mr. Buck from testifying in this case.

        To begin with, Defendants offer no explanation for Mr. Buck’s own words describing that

what he set out to do with his expert report was to advise how the Term Sheet should be

interpreted and how the jury should rule on the question of whether there was a breach.

Specifically, Mr. Buck sought to answer the following three questions:
                       a.       Did the Exclusivity Provision prohibit either negotiations,
                discussions or correspondence by Outdoor relating to the KSE Merger, or the
                disclosure of the Term Sheet by Outdoor with or to KSE or InterMedia?
                        b.   Did the Exclusivity Provision prohibit Outdoor’s execution of the
                KSE Merger Agreement, or the exchange of equity of Outdoor for cash pursuant
                to the KSE Merger?
                        c.     Does the Non-Binding Provision apply to the sentence in the Term
                Sheet that provides: “The parties will use their best efforts to achieve a signing of
                definitive documents and Closing no later than April 15, 2013”?

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[Appendix of Evidence in Support of Motion to Exclude Expert Opinions of David Buck (Dkt

250-1), Ex. A (hereafter, the “Report”) at 6.]

        Further, to the extent there is doubt as to whether Mr. Buck was simply mistaken in the

framing of his expert report and that he instead meant to say he is wearing an “industry expert”

hat as Defendants contend, that doubt was laid to rest by Mr. Buck’s “Conclusions” confirming

he intends to offer legal opinions and conclusions. [Report at 24-26.] Mr. Buck, for example,

instructs that “Clauses (i) and (ii) of the Exclusivity Provision clearly do not apply to any of the

allegations and claims by Plaintiff with respect to the actions of Outdoor and related actions by

KSE in connection with the KSE Merger . . .”; that “Clause (iii) of the Exclusivity Provision did

not apply to the KSE Merger”; and that “[t]he Non-Binding Provision should preclude Plaintiff’s

claims against Outdoor, and related claims against KSE derivative of any such alleged violation

by Outdoor, with respect to any other non-binding terms under the Term Sheet outside the

Exclusivity Provision.” [Report at 24-26.] These are not opinions of an “industry expert” or the

meaning of “industry usage” of particular terms. They are legal opinions, legal conclusions, and

legal arguments of a lawyer about what the contract means, how it should be interpreted, and

why the jury should determine there was no breach. Defendants remarkably do not address Mr.

Buck’s questions that frame his opinions or his conclusions anywhere within their opposition.

        Because Defendants elected to simply ignore, rather than explain, the actual content of

Mr. Buck’s proffered opinions, it is also not surprising that Defendants chose not to address any

of the principal case authority in the Fifth Circuit prohibiting experts from offering legal

conclusions, which were raised in Plaintiff’s moving papers. Indeed, doing so would reveal that

Mr. Buck’s opinions fall squarely within the types of opinions found to be legally inadmissible.

        For example, in Askanse v. Fatjo, the Fifth Circuit upheld the exclusion of an attorney

expert who sought to testify about whether the officers and directors in the case had breached

their fiduciary duties. 130 F.3d 657, 672-73 (5th Cir. 1997). In reaching this conclusion, the

Court explained: “there is one, but only one, legal answer for every cognizable dispute. There

being only one applicable legal rule for each dispute or issue, it requires only one spokesman of
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the law, who of course is the judge.” Id. at 673 (quoting Specht v. Jensen, 853 F.2d 805, 807

(10th Cir. 1988)). The Court continued: “if an expert were allowed to testify to legal questions,

each party would find an expert who would state the law in the light most favorable to its

position. Such differing opinions on what the law is would only confuse the jury.” Id. The Court

thus identified the precise danger of permitting Mr. Buck, a legal advocate from the witness stand

for the defense adorned with the deceptive cloak of a disinterested (and credentialed) scientific or

technical expert. See Sparton Corp. v. United States, 77 Fed. Cl. 1 (2007) (“Expert testimony is

an improper mechanism for offering legal arguments to the [c]ourt . . . [because it] would be

unfair to [one party] for the [c]ourt to award [the opposing party]’s legal arguments the elevated

stamp of expert.”). Defendants do not discuss Askanse in their opposition.

        Defendants similarly avoid any discussion of the Fifth Circuit’s decision in Estate of

Sowell v. United States, 198 F.3d 169 (5th Cir. 1999). The Court there held a law school dean

was properly precluded from opining on whether an estate was “acting reasonably” in failing to

pay estate taxes in a timely manner and thus whether an estate executor’s actions constituted

“reasonable cause”—even though he offered testimony based on purported “hypothetical” facts.

Id. at 172. The Court held “the district court did not abuse its discretion in excluding Dean

Galvin’s testimony as an inadmissible legal opinion on the issue of ‘reasonable cause.’” Id. This
was a question reserved to the finder of fact. Similarly (although Defendants have been more
blatant about it than the defendant in Sowell), Defendants also propose an attorney expert who

seeks to analyze the facts of the case and provide a legal opinion on how those facts should be

interpreted—namely, how what the Term Sheet means, what the parties intended, and that

Outdoor did not breach the Term Sheet. These are inadmissible legal conclusions.

        Defendants also remarkably offer no response to Plaintiff’s contention that David Buck’s

opinions seek to usurp the role of both the judge and the jury in this case. As noted in Plaintiff’s

motion, “[a]n expert who usurps either the role of the judge by instructing the jury on the

applicable law or the role of the jury by applying the law to the facts at issue ‘by definition does

not aid the jury in making a decision.’” Nagle v. Sheriff Marlin Gusman, No. CV 12-1910, 2016
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WL 541436, at *5 (E.D. La. Feb. 11, 2016) (quoting Nimely v. City of New York, 414 F.3d 381,

397 (2d Cir. 2005)). Rather, such an expert “undertakes to tell the jury what result to reach and

thus attempts to substitute the expert’s judgment for the jury’s [judgment].” Id. (internal

quotations omitted). Here, Mr. Buck clearly offers opinions that go well beyond advising about

any purported industry practice or custom. He openly instructs what conclusion should be

reached in the case, namely, that there was no violation of the Term Sheet that occurred under the

facts of the case. [See, e.g., Report at 19-20, 24-26.]      And further, he instructs the Court

throughout his Report how the Term Sheet and various terms such as “sale,” and “directly or

indirectly,” should be interpreted under the facts of the case. [See, e.g., Report at 19-23.] The

Court must not allow Mr. Buck to usurp its role and the role of the jury from the witness stand.
        B.      The Contention that Mr. Buck is an “Industry” Expert Whose Opinions Are
                Relevant to “Industry” Custom and Practice Should Be Rejected.
        Defendants argue David Buck has merely been offered as an “industry” expert. His

supposed relevance to the case is described in various vague and amorphous terms in the

opposition as a person who will opine on “industry usage,” “helpful context regarding industry

custom and practice,” explanation of unspecified “ambiguous” contract terms based on “industry

experience and expertise,” analysis of “trade and industry-specific terms,” and testimony related

to “industry customs, norms, and usage.” [Dkt 258 at 1-2, 4, 6.] Defendants’ frequent use of the

word “industry” in an attempt to legitimize Mr. Buck’s proposed opinions as anything more than

legal conclusions, however, is not enough to save his opinions from being stricken.

        Defendants’ after-the-fact characterizations of David Buck as a witness who merely

opines on “industry” related topics simply do not square with Mr. Buck’s own actual description

of his opinions as reflected in the text of his expert report. Indeed, the word “industry” does not

even appear once in Mr. Buck’s expert report. Nor can any discussion of industry “custom,”

“usage,” or trade or practice be found in the Report. It simply does not exist. This explains why

Defendants avoid quoting from any portion of Mr. Buck’s report in their opposition. Simply put,
if Defendants wanted Mr. Buck to opine on one of these topics, then they should have instructed

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him to do so in his report instead of doing it for him in their opposition brief.

        But even were the Court to entertain the flawed assumption that Mr. Buck has somehow

offered opinions on industry practice, custom, or usage (he has not), it is unclear how he has done

so, and how he would be qualified to do so, in this case. The only industry Mr. Buck is qualified

to provide any opinions about is the legal industry given he is a corporate transactional attorney.

But the legal industry or how lawyers operate is not on trial in this case. This is not, for example,

a legal malpractice case about a failed merger or acquisition transaction.

        Nor is Mr. Buck alleged to be a subject-matter expert on the particular industries at issue

here—i.e., aerial camera technology or, even more generally, mass media and entertainment.

Rather, as described in his curriculum vitae, Mr. Buck claims to have “particular industry

experience with domestic and international energy (including oil and gas exploration &

production (E&P), midstream, offshore drilling, seismic and other energy services, and oilfield

equipment manufacturing and supply businesses), retail electric and natural gas, power

transmission and distribution, maritime transportation, restaurant, aviation and death care

companies.” [Report at Ex. B (Dkt 250-1 at App.32).]

        But even if the Court assumed Defendants overcame all of these hurdles to admissibility

and strained to find a basis to conclude that Mr. Buck has been put forward as an industry expert,

the following question remains unanswered: an industry expert on what? Although unclear,

Defendants appear to argue that Mr. Buck is an industry expert on the meaning of the words

“sale,” “agreement to sell,” and “directly or indirectly” as those terms are used in the Term Sheet.

Setting aside the fact that this is clearly not, as shown above and in his actual report, what Mr.

Buck is proposing to provide opinions about in this case, Defendants fail to explain why the

Court requires any expert opinion about the meaning of these terms. Defendants do not contend
that these terms are ambiguous.1 Moreover, neither do Defendants or Mr. Buck even argue that

1Indeed, Defendants fail to explain why these terms are ambiguous to begin with. “[T]he interpretation of an
unambiguous contract is a question of law for the court to decide.” Gonzalez v. Denning, 394 F.3d 388, 392 (5th
Cir. 2004).

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any of these terms have specialized or technical meanings unique to the industry or industries in

which Plaintiff and Defendants operated. “Unless there is a need to employ specific, technical,

or other specialized knowledge to clarify terms of art, science, trade, or other industry-specific

language, expert opinion testimony offered to interpret contract language is inadmissible.”

Cunningham v. Bienfang, No. CIV.A.3:00-CV-0448-L, 2002 WL 31553976, at *2–3 (N.D. Tex.

Nov. 15, 2002). And even if they did persuade the Court that the terms at issues did have special

or technical meanings based on industry or trade custom or usage, nothing in Mr. Buck’s

background as a lawyer qualifies him to offer any such opinion. See Ergon-W. Virginia, Inc. v.

Dynegy Mktg. & Trade, No. 3:06CV714-DPJ-LRA, 2011 WL 765555, at *5 (S.D. Miss. Feb. 25,

2011) (because the plaintiffs failed to demonstrate their expert was “qualified to opine about

industry custom and practices as they relate to obligations under a force-majeure clause[,]” court

found the testimony “limited” and that expert “may not offer opinions regarding Dynegy’s

contractual duties or the Ergon Plaintiffs’ specific expectations in drafting the document.”)..
        C.      Defendants’ Cited Authority Is Inapplicable.
        While Defendants ignore the principal authority Plaintiff cited for the Court, they

themselves rely on inapposite authority.

        To begin with, Toren v. Braniff, Inc., 893, F.2d 763 (5th Cir. 1990), cited by Defendants,
is distinguishable. The expert witnesses relied upon were experts in the airline industry who

could therefore properly opine on industry custom and practice. Further, the disputed question

was one where industry custom was helpful to the trier of fact—namely, whether a lease contract

barred the defendant airline from lending out “rotables” (which has a very specific meaning

relative to the aviation industry). Id. at 765-66. Here, in contrast, Defendants do not offer Mr.
Buck as an industry expert, but instead as a practicing lawyer who has drafted contracts and been

involved in corporate transactional negotiations. Further, they make no case for why “directly or

indirectly” and “sale” have a specialized technical meaning requiring an industry expert.

        Defendants also cite Willowood Condominium Assoc. v. HNC Realty Co., 531 F.2d 1249

(5th Cir. 1976), to support the proposition that the “Fifth Circuit upholds the use of expert
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testimony . . . to determine or explain ambiguous contracts or contract terms.” [Dkt 258 at 1

(internal quotation omitted).] Willowood, however, did not deal with any issue concerning the
admissibility of expert opinions.

        Defendants’ reliance on Ergon-West Virginia, Inc. v. Dynergy Mktg. & Trade, 706 F.3d

419 (5th Cir. 2013), is also misplaced. The Court there made no ruling on the propriety of a

party offering an attorney expert to opine on the meaning of particular terms of a contract or to

provide context. Rather, according to the Court, there was nothing improper about admitting

expert opinion on true industry custom and practice which, in that case, took the form of witness

testimony on the “‘universal practice’ in the gas industry” on when a downstream gas supplier

declares force majeure.      Id. at 423 (emphasis added).      The Court found the district court

“properly looked to extrinsic evidence of standards used by the gas industry to determine what

was ‘reasonable dispatch,’” under the contract at issue in the case. Id. at 425. This case is

different. Mr. Buck is not being offered as an expert in the aerial camera industry, or even in the

media or entertainment industry. Nor is there any issue in the case that would even require such

industry expertise. Instead, he is being offered as an expert as a lawyer on how the Court should

construe the contract and whether the particular facts of the case constitute a breach of the

contract. There is no need for a “legal industry” expert in this case.

        Finally, Defendants’ reliance on ProtoComm Corp. v. Novell Advanced Services, Inc.,
171 F.Supp.2d 473 (E.D. Pa. 2001), is also misplaced. None of the three expert witnesses at

issue in the case proffered opinions remotely similar to those proposed here by David Buck.

Specifically, nothing in the district court’s opinion demonstrates that any of the three witnesses

offered interpretations of any contract, opinions on whether any contract had been breached, or

opinions on what law should be applied by the court. Their opinions were offered in the context

of fraudulent conveyances and wrongful liquidation issues. Id. at 477 n.2, 479, 481. There was

no challenge to any of their opinions on the basis that they constituted legal conclusions. Nor did

any of the three experts claim they were providing expertise on “industry” custom or practice, or

trade usage, as Defendants argue here with Mr. Buck. Moreover, the only lawyer expert in the
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group was also an “investment banker” with extensive experience appraising and valuing

companies, and indeed, his opinions were limited to matters construing the impact of the

defendant’s actions on the value of assets and liabilities in the context of the fraudulent

conveyance claim at issue in the case. See id. at 482 (summarizing Mr. Nagy’s opinions). This

case, as repeatedly shown in this reply and in Plaintiff’s motion, involves completely different
opinions and a completely different basis for challenging those opinions.2
         D.      Mr. Buck Should Not Be Permitted to Speculate About the Parties’ Intent
                 With Regards to the Term Sheet.
         Mr. Buck repeatedly speculates about what the parties intended in connection with the

Term Sheet. This includes speculation about what the parties supposedly did and did not intend

as reflected by the language of the Term Sheet [Report at 16, 18-19, 24], what the parties could

or should have done by way of adding language or other agreements if they intended a particular

outcome [Report at 16-17, 21-23], and what the parties must have meant when using certain

phrases such as “sell” and “directly or indirectly.” [Report at 20-23.] The problem with these

opinions is that an expert’s evaluation of a defendant’s mental state is not helpful to the finder of

fact. See Marlin v. Moody Nat’l Bank, N.A., 248 F. App’x 534, 541 (5th Cir. 2007). “An
expert’s credentials do not place him in a better position than the [trier of fact] to draw

conclusions about a defendant’s state of mind.” Id. In Cunningham, for example, the court

found “[e]xpert testimony to show the parties’ intent in drafting the Settlement Agreement is . . .

inadmissible.” 2002 WL 31553976, at *2–3. In CEATS, Inc. v. TicketNetwork, Inc., the court
found that an expert witness “has no helpful knowledge of the meaning of contract terms . . . or


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  Defendants also cite Fluorine On Call, Ltd. v. Fluorogas Ltd., No. A-01-CA-186-JN, 2002 WL 34443530 (W.D.
Tex. Sept. 27, 2002), where a lawyer was permitted to testify as an expert on the meaning of the terms of an “MOU.”
This order, however, should not be followed. The rationale for the court’s determination is unclear. The court did
not cite any authority to justify its decision. The defendants appeared to rely on Toren and Willowood which, as
shown above, are not authority for what Defendants propose to do here with Mr. Buck’s testimony. The essential
background facts concerning the parties’ dispute over the “MOU” were not recited in the order. The case can only
be described as an outlier and, as between a magistrate judge’s decision from the Western District and Fifth Circuit
authority, this Court is bound by the latter.


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what the parties intended thereby.” No. 215CV01470JRGRSP, 2018 WL 457791, at *3 (E.D.

Tex. Jan. 17, 2018) (emphasis added).

        Defendants’ response to these arguments is that he merely wishes to offer his views on

industry custom and practice. As shown above, however, the reality of Mr. Buck’s opinions as

reflected by the text of his report tells a very different story. While on the one hand there is no

reference to industry custom, practice, or usage in his report, on the other hand, the word “intent”

or variations thereof is mentioned at least 15 times. Presenting Mr. Buck to the jury to speak

about the parties’ intent in relation to the Term Sheet is simply improper and must be prevented.
        E.      Mr. Buck’s Opinions Do Not “Fit” the Facts and Legal Theory of this Case
                and Any Arguments to the Contrary, if Relevant, May Be Asserted by
                Defendants’ Attorneys.
        As noted in his motion, Mr. Buck’s opinions do not “fit” with the facts and legal theory of

the case because his discussion about the proposed InterMedia merger and whether public trading

of the stock violated the Term Sheet have no relevance to this case. Defendants contend these

topics are relevant because they supposedly demonstrate the unreasonable outcome associated

with Plaintiff’s interpretation of the Term Sheet. However, even accepting this premise for the

sake of argument, Defendants have no need for an expert to make these points. They are legal

arguments that can be made by Defendants’ lawyers. The law is clear that an expert may not

offer opinions that simply reiterate what “the lawyer can offer in argument.” Salas v. Carpenter,

980 F.2d 299, 305 (5th Cir. 1986); In re Air Crash at New Orleans, 795 F.2d 1230, 1233 (5th Cir.

1986) (“[T]he trial judge ought to insist that a proffered expert bring to the jury more than the

lawyers can offer in argument.”)

III.    CONCLUSION
        For the foregoing reasons, Plaintiff respectfully requests that this Court grant Plaintiff’s

motion to exclude the testimony and opinions of David Buck. In the alternative, Plaintiff

respectfully requests that the Court exclude portions of Mr. Buck’s testimony and opinions which

the Court deems inadmissible.

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                                              Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of this filed pleading is

being served upon all counsel of record through the Court’s ECF delivery system, as provided by

the Local Rules at or shortly after the time and date of filing.

DATED: December 21, 2018                       /s/ Ahmed Ibrahim
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